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                 Robert Yaquinto, Jr.
                 Chapter 7 Trustee
                 509 N. Montclair Avenue
                 Dallas, TX 75208
1A
 /2009
 /2011
 ary
 101-7-TFR
 3 Services      (214) 942-5502
                                        UNITED STATES BANKRUPTCY COURT
                                          NORTHERN DISTRICT OF TEXAS
                                                DALLAS DIVISION


                In Re:                                                                          §
                                                                                                §
                ASIA HOUSE OF TEXAS, INC.                                                       §           Case No. 18-30455
                                                                                                §
                                                              Debtor                            §

                                                             TRUSTEE’S FINAL REPORT (TFR)

                           The undersigned trustee hereby makes this Final Report and states as follows:

                       1. A petition under chapter 7 of the United States Bankruptcy Code was filed on
                 02/08/2018 . The undersigned trustee was appointed on 02/08/2018 .

                           2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                        3. All scheduled and known assets of the estate have been reduced to cash, released to
                the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
                pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
                disposition of all property of the estate is attached as Exhibit A.

                           4. The trustee realized gross receipts of                                             $               18,750.00

                                                  Funds were disbursed in the following amounts:

                                                  Payments made under an interim                                                          0.00
                                                  disbursement
                                                  Administrative expenses                                                          1,691.75
                                                  Bank service fees                                                                   73.29
                                                  Other payments to creditors                                                          0.00
                                                  Non-estate funds paid to 3rd Parties                                                 0.00
                                                  Exemptions paid to the debtor                                                        0.00
                                                  Other payments to the debtor                                                         0.00
                                                                                            1
                                                  Leaving a balance on hand of                                   $               16,984.96

                 The remaining funds are available for distribution.
          ____________________
                     1
                        The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
          will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
          maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.
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             5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
      account.

              6. The deadline for filing non-governmental claims in this case was 09/10/2018 and the
      deadline for filing governmental claims was . All claims of each class which will receive a
      distribution have been examined and any objections to the allowance of claims have been
      resolved. If applicable, a claims analysis, explaining why payment on any claim is not being
      made, is attached as Exhibit C.

                 7. The Trustee’s proposed distribution is attached as Exhibit D.

             8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
      $ 2,625.00 . To the extent that additional interest is earned before case closing, the maximum
      compensation may increase.

             The trustee has received $ 0.00 as interim compensation and now requests a sum of
      $ 2,625.00 , for a total compensation of $ 2,625.00 2. In addition, the trustee received
      reimbursement for reasonable and necessary expenses in the amount of $ 0.00 , and now requests
      reimbursement for expenses of $ 728.70 , for total expenses of $ 728.70 2.

             Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
      foregoing report is true and correct.


      Date: 03/18/2020                                     By:/s/ROBERT YAQUINTO, JR., TRUSTEE
                                                               Trustee



      STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
      exemption 5 C.F.R. § 1320.4(a)(2) applies.




____________________
           2
            If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the
Trustee’s Proposed Distribution (Exhibit D).

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                                                                                  FORM 1
                                                                                                                                                                        Page 3 of 9
                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                             Page:        1
                                                                                               ASSET CASES                                                                                                              Exhibit A
Case No:             18-30455       SGJ    Judge: STACEY G. JERNIGAN                                                                            Trustee Name:                      ROBERT YAQUINTO, JR., TRUSTEE
Case Name:           ASIA HOUSE OF TEXAS, INC.                                                                                                 Date Filed (f) or Converted (c):    02/08/18 (f)
                                                                                                                                               341(a) Meeting Date:                03/20/18
For Period Ending: 02/29/20                                                                                                                    Claims Bar Date:                    09/10/18



                                       1                                                    2                            3                          4                         5                                    6
                                                                                                              Estimated Net Value
                                                                                      Petition/          (Value Determined by Trustee,       Property Formally           Sale/Funds                  Asset Fully Administered (FA)/
                              Asset Description                                      Unscheduled            Less Liens, Exemptions,             Abandoned                Received by                Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                             Values                  and Other Costs)             OA=554(a) Abandon             the Estate

 1. BBT Bank - checking account                                                                   0.00                              0.00                                                0.00                     FA
 2. DEPOSIT - DALLAS MARKET CENTER                                                           3,000.00                           3,000.00                                                0.00                     FA
 3. RAW MATERIALS                                                                          10,000.00                           10,000.00                                            1,000.00                     FA
     RAW GEMSTONES, PEARLS, SAWATZKE CRYSTAL,
     TURQUOISE.
 4. JEWELRY                                                                               300,000.00                          300,000.00                                           14,650.00                     FA
 5. OFFICE FURNITURE                                                                            100.00                           100.00                                              100.00                      FA
 6. OFFICE FIXTURES                                                                          5,000.00                           5,000.00                                            2,500.00                     FA
     DISPLAY CASES
 7. OFFICE EQUIPMENT                                                                            500.00                           500.00                                              500.00                      FA

                                                                                                                                                                                                  Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                       $318,600.00                         $318,600.00                                          $18,750.00                            $0.00
                                                                                                                                                                                                  (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   ASSETS LIQUIDATED. ACCOUNTANT EMPLOYED AND PREPARING RETURN. CLAIMS REVIEWED AND NO OBJECTIONS NECESSARY, ESTIMATED
   DATE OF CLOSING 03/31/2020.


   Initial Projected Date of Final Report (TFR): 03/01/19           Current Projected Date of Final Report (TFR): 03/31/20




LFORM1   UST Form 101-7-TFR (5/1/2011) (Page: 3)                                                                                                                                                                                Ver: 22.02c
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                                                                                                  FORM 2                                                                                           Page:     1
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit B
  Case No:             18-30455 -SGJ                                                                                            Trustee Name:                    ROBERT YAQUINTO, JR., TRUSTEE
  Case Name:           ASIA HOUSE OF TEXAS, INC.                                                                                Bank Name:                       UNION BANK
                                                                                                                                Account Number / CD #:           *******9543 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******0772
  For Period Ending: 02/29/20                                                                                                   Blanket Bond (per case limit):   $    300,000.00
                                                                                                                                Separate Bond (if applicable):


           1              2                               3                                                 4                                               5                      6                   7
    Transaction       Check or                                                                                                         Uniform                                                     Account / CD
       Date           Reference                Paid To / Received From                         Description Of Transaction             Tran. Code       Deposits ($)        Disbursements ($)        Balance ($)
                                                                                  BALANCE FORWARD                                                                                                                0.00
          06/07/18    * NOTE *     Rosen Systems, Inc.                            Auction Proceeds                                    1129-000               18,750.00                                     18,750.00
                                                                                  * NOTE * Properties 3, 4, 5, 6, 7
          07/19/18     005001      ROSEN SYSTEMS, INC.                            AUCTIONEER'S EXPENSES                               3620-000                                         1,691.75            17,058.25
                                   2323 LANGFORD ST.                              PAID PER ORDER ENTERED 07/18/2018
                                   DALLAS, TEXAS 75208
          07/25/18                 UNION BANK                                     BANK SERVICE FEE                                    2600-000                                           20.68             17,037.57
          08/27/18                 UNION BANK                                     BANK SERVICE FEE                                    2600-000                                           27.29             17,010.28
          09/25/18                 UNION BANK                                     BANK SERVICE FEE                                    2600-000                                           25.32             16,984.96
          10/09/18                 Trsf To BofI Federal Bank                      FINAL TRANSFER                                      9999-000                                     16,984.96                     0.00

                                                                                                            COLUMN TOTALS                                    18,750.00             18,750.00                      0.00
                                                                                                                Less: Bank Transfers/CD's                         0.00             16,984.96
                                                                                                            Subtotal                                         18,750.00                 1,765.04
                                                                                                                Less: Payments to Debtors                                                  0.00
                                                                                                            Net
                                                                                                                                                             18,750.00                 1,765.04




                                                                                                                                Page Subtotals               18,750.00                 18,750.00
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LFORM24
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                                                                                                FORM 2                                                                                                    Page:       2
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                      Exhibit B
  Case No:             18-30455 -SGJ                                                                                         Trustee Name:                       ROBERT YAQUINTO, JR., TRUSTEE
  Case Name:           ASIA HOUSE OF TEXAS, INC.                                                                             Bank Name:                          Axos Bank
                                                                                                                             Account Number / CD #:              *******0353 Checking Account
  Taxpayer ID No:    *******0772
  For Period Ending: 02/29/20                                                                                                Blanket Bond (per case limit):      $     300,000.00
                                                                                                                             Separate Bond (if applicable):


           1              2                              3                                               4                                                 5                          6                         7
    Transaction       Check or                                                                                                      Uniform                                                               Account / CD
       Date           Reference                Paid To / Received From                       Description Of Transaction            Tran. Code       Deposits ($)            Disbursements ($)              Balance ($)
                                                                                  BALANCE FORWARD                                                                                                                         0.00
          10/09/18                 Trsf In From UNION BANK                        INITIAL WIRE TRANSFER IN                         9999-000                 16,984.96                                               16,984.96

                                                                                                         COLUMN TOTALS                                      16,984.96                         0.00                   16,984.96
                                                                                                             Less: Bank Transfers/CD's                      16,984.96                         0.00
                                                                                                         Subtotal                                                  0.00                       0.00
                                                                                                             Less: Payments to Debtors                                                        0.00
                                                                                                         Net
                                                                                                                                                                   0.00                       0.00
                                                                                                                                                                                 NET                             ACCOUNT
                                                                                                          TOTAL - ALL ACCOUNTS                     NET DEPOSITS             DISBURSEMENTS                        BALANCE
                                                                                        Checking Account (Non-Interest Earn - ********9543                   18,750.00                    1,765.04                         0.00
                                                                                                         Checking Account - ********0353                            0.00                        0.00                16,984.96
                                                                                                                                                 ------------------------    ------------------------   ------------------------
                                                                                                                                                             18,750.00                    1,765.04                  16,984.96
                                                                                                                                                 ==============             ==============              ==============
                                                                                                                                                  (Excludes Account         (Excludes Payments                   Total Funds
                                                                                                                                                             Transfers)               To Debtors)                    On Hand




                                                                                                                             Page Subtotals                 16,984.96                          0.00
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LFORM24
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                                                                         EXHIBIT C
 Page 1                                                                                                                             Date: March 18, 2020
                                                                ANALYSIS OF CLAIMS REGISTER

 Case Number:      18-30455                                           Claim Class Sequence
 Debtor Name:      ASIA HOUSE OF TEXAS, INC.


Code #              Creditor Name & Address         Claim Class      Notes                    Amount Allowed         Paid to Date        Claim Balance

000002         12900 PRESTON ROAD                   Unsecured                                      $98,600.75               $0.00             $98,600.75
070            COHEN & ZWERNER LLP
7100-00        12900 Preston Road Suite 1230
               DALLAS, TX 75230

000003B        Internal Revenue Service             Unsecured                                        $981.71                $0.00                $981.71
070             Dist. Director
7100-00        SPB Mail Code 5020DAL
               1100 Commerce St
               Dallas, TX 75242-1001



                  Case Totals:                                                                     $99,582.46               $0.00             $99,582.46
 Code #: Trustee's Claim Number, Priority Code, Claim Type




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                                          TRUSTEE’S PROPOSED DISTRIBUTION

                                                                                                         Exhibit D

     Case No.: 18-30455
     Case Name: ASIA HOUSE OF TEXAS, INC.
     Trustee Name: ROBERT YAQUINTO, JR., TRUSTEE
                         Balance on hand                                              $                16,984.96

               Claims of secured creditors will be paid as follows:

                                                             Allowed            Interim
                                                             Amount of          Payment to         Proposed
       Claim No. Claimant                     Claim Asserted Claim              Date               Payment
       000001         Dallas County          $     9,877.52 $         9,877.52 $           0.00 $        8,111.59
                 Total to be paid to secured creditors                                $                  8,111.59
                 Remaining Balance                                                    $                  8,873.37


               Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                            Interim Payments Proposed
                         Reason/Applicant                Total Requested    to Date          Payment
       Trustee Fees: ROBERT YAQUINTO, JR.,
       TRUSTEE                                           $       2,625.00 $               0.00 $         2,625.00
       Trustee Expenses: ROBERT YAQUINTO,
       JR., TRUSTEE                                      $         728.70 $               0.00 $          728.70
       Attorney for Trustee Fees: SHERMAN &
       YAQUINTO                                          $       3,417.50 $               0.00 $         3,417.50
       Attorney for Trustee Expenses: SHERMAN
       & YAQUINTO                             $                    278.82 $               0.00 $          278.82
       Accountant for Trustee Fees: SHELDON E.
       LEVY, CPA                               $                 1,770.00 $               0.00 $         1,770.00
       Accountant for Trustee Expenses:
       SHELDON E. LEVY, CPA                              $            53.35 $             0.00 $              53.35
       Auctioneer Expenses: ROSEN SYSTEMS,
       INC.                                              $       1,691.75 $        1,691.75 $                  0.00




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                 Total to be paid for chapter 7 administrative expenses                $               8,873.37
                 Remaining Balance                                                     $                     0.00


               Applications for prior chapter fees and administrative expenses have been filed as follows:


                                                              NONE


              In addition to the expenses of administration listed above as may be allowed by the Court,
     priority claims totaling $ 558.74 must be paid in advance of any dividend to general (unsecured)
     creditors.

                 Allowed priority claims are:

                                                          Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                        of Claim           to Date          Payment
     000003A              Internal Revenue Service        $       558.74 $              0.00 $               0.00
                 Total to be paid to priority creditors                                $                     0.00
                 Remaining Balance                                                     $                     0.00


             The actual distribution to wage claimants included above, if any, will be the proposed payment
     less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

             Timely claims of general (unsecured) creditors totaling $ 99,582.46 have been allowed and will
     be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
     timely allowed general (unsecured) dividend is anticipated to be 0.0 percent, plus interest (if
     applicable).

                 Timely allowed general (unsecured) claims are as follows:

                                                          Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                        of Claim           to Date          Payment
     000002               12900 PRESTON ROAD              $    98,600.75 $              0.00 $               0.00
     000003B              Internal Revenue Service        $       981.71 $              0.00 $               0.00
                 Total to be paid to timely general unsecured creditors                $                     0.00




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                 Remaining Balance                                                    $                     0.00




             Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been allowed and will
     be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
     have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent.

                 Tardily filed general (unsecured) claims are as follows:


                                                            NONE




            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
     subordinated by the Court totaling $ 0.00 have been allowed and will be paid pro rata only after all
     allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
     subordinated unsecured claims is anticipated to be 0.0 percent.

            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
     subordinated by the Court are as follows:


                                                            NONE




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